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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 1st SIGNATURE LENDING LLC                       )
                                                 )
                        Plaintiff,               )
                                                 ) CASE NO.: 1:20-cv-02130-JMS-MPB
         v.                                      )
                                                 )
 BRIGHTON BANK,                                  )
                                                 )
                        Defendant.               )

                 BRIGHTON BANK’S MOTION TO TRANSFER VENUE

        Defendant, Brighton Bank (“Brighton”), by counsel, respectfully moves this Court to

transfer this cause to the United States District Court for the Western District of Tennessee,

pursuant to 28 U.S.C. § 1404(a), as required by the forum selection clause in Section 25 of the

“Brighton Bank Correspondent Loan Purchase Agreement” attached to Plaintiff 1st Signature

Lending, LLC’s (“Plaintiff”) Complaint as Exhibit 1 [Filing No. 1-1, p. 20, § 25 (“The parties

agree that the sole proper venue for the determination of any litigation commenced by … [Plaintiff]

against [Brighton] on any basis shall be in a court of competent jurisdiction which is located in

Tipton County, Tennessee or the Western District of Tennessee, and the parties hereby expressly

declare that any other venue shall be improper and each party expressly waives any right to a

determination of any such litigation by a court in any other venue.”).]

        In support of this motion, Brighton hereby tenders its Brief In Support of Motion to

Transfer Venue, which it is filing contemporaneous herewith and which is incorporated herein in

its entirety.

        A proposed order granting this Motion to Transfer Venue is attached hereto as Exhibit 1.
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       WHEREFORE, Defendant, Brighton Bank, by counsel, respectfully requests that the Court

GRANT this Motion to Transfer Venue, and transfer venue of this cause to the United States

District Court for the Western District of Tennessee pursuant to 28 U.S.C. § 1404(a) and Section

25 of the “Brighton Bank Correspondent Loan Purchase Agreement”; and grant all other

appropriate relief.

                                                       Respectfully submitted,

                                                       LEWIS WAGNER, LLP

                                                       /s/ Ryan J. Vershay
                                                       Ryan J. Vershay, #28109-71
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                                                       Indianapolis, IN 46202
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                                                       Attorney for Brighton Bank




                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 17, 2020, a copy of the was filed electronically. Service
of this filing will be made on all ECF-registered counsel by operation of the court's electronic filing
system. Parties may access this filing through the court's system.

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                                                       /s/ Ryan J. Vershay
                                                       Ryan J. Vershay

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